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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

ELIZABETH CHAN, et al.,

                   Plaintiffs,

            v.
                                                        No. 23 Civ. 10365 (LJL)
UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                   Defendants.


MICHAEL MULGREW, et al.,

                 Plaintiffs,

            v.
                                                        No. 24 Civ. 1644 (LJL)
UNITED STATES DEPARTMENT OF
TRANSPORTATION, et al.,

                 Defendants.



       MEMORANDUM IN SUPPORT OF THE FEDERAL DEFENDANTS’
     CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO
            PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


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                                PRELIMINARY STATEMENT

       This Court has already found that the Federal Highway Administration’s (“FHWA”)

environmental review of the Manhattan Central Business Tolling Program (“the Project”)—

conducted based on a range of potential tolling structures and using the worst-case tolling scenario

for each relevant environmental impact to conservatively measure the effects of the Project—

satisfied the requirements of the National Environmental Policy Act (“NEPA”). As a result, the

question that remains in this case is narrow: will the changes to the Project that have occurred since

the initial environmental review result in impacts that fall so far outside the broad parameters of

the FHWA’s initial analysis that a supplemental review is required? The answer is no.

       Specifically, and as set forth in more detail below, Plaintiffs’ motion takes aim at two

separate events—(1) the Metropolitan Transportation Authority’s (“MTA”) March 2024 adoption

of a tolling structure, which was assessed by the FHWA in June 2024 and determined not to require

a supplemental environmental assessment (the “Re-Evaluation”); and (2) the MTA’s adoption of

a phase-in period for that tolling structure in November 2024, which was shortly thereafter

evaluated by the FHWA and again determined not to require supplementation (the “Re-Evaluation

2”). Plaintiffs argue that virtually every feature those tolling structures falls outside the bounds

of the FHWA’s May 2023 Final Environmental Assessment (“EA”) and June 2023 Finding of No

Significant Impact (“FONSI”). But their arguments improperly attempt to relitigate many issues

this Court has already decided. Moreover, they also ignore the voluminous record at issue,

including the two re-evaluations conducted by the FHWA. These re-evaluations confirmed that

the effects of the Project’s final tolling structure fall comfortably within those modeled in the

original analysis. The FHWA’s conclusion that the tolling structure adopted by the MTA did not

require supplementation was not arbitrary, nor capricious.         And, as this Court has already




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recognized, the adoption of a phase-in period does not substantively alter the Project but “merely

postpones the full operation of Congestion Pricing.” Dkt. No. 99 (“Op.”) at 64. 1

           For the reasons outlined below, the Court should deny Plaintiffs’ motion for summary

judgment and grant the Federal Defendants’ 2 cross-motion for summary judgment.

                                                  BACKGROUND

I.         The Congestion Pricing Project

           This matter arises out of efforts by the MTA and several other state and local entities (the

“Project Sponsors”) to implement the MTA Reform and Traffic Mobility Act, passed in April

2019. DOT_2400. That Act required the MTA to establish a “program to establish tolls for

vehicles entering or remaining in the most congested area of the state,” which was described as

“necessary and [] a matter of substantial state concern.” DOT_2403. The Act established the

Traffic Mobility Review Board (“TMRB”) to “make a recommendation regarding the . . . toll

amounts to be established,” which would inform the Triborough Bridge and Tunnel Authority’s

(“TBTA”) decision to approve and adopt a final toll structure. DOT_2415. As explained in more

detail below, the TMRB made its recommendations on November 30, 2023, the TBTA adopted a

tolling structure on March 27, 2024, and then the TBTA modified the tolling structure to adopt a

phase-in period for the toll on November 18, 2024. See MTA, Central Business District Tolling

Program, available at https://new.mta.info/project/CBDTP. The MTA intends to begin charging

the congestion pricing toll on January 5, 2025. See id.




1
    Unless otherwise noted, docket citations in this brief refer to Docket No. 23 Civ. 10365.

2
  The Federal Defendants are the U.S. Department of Transportation (“DOT”), the FHWA, Shailen Bhatt, in his
official capacity as Administrator of FHWA, and Richard J. Marquis, in his official capacity as Division Administrator
of the New York Division of FHWA.



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II.      The Final EA, the FONSI, and the Prior Litigation

         As a precondition to participation in the federal Value Pricing Pilot Program (“VPPP”), 3

the Project Sponsors were required to conduct a review of the Project under NEPA. SAFETEA-

LU Act, Pub. L. 109-59 § 1604(b)(3)(C), 119 Stat. at 1250. The Project Sponsors began working

with the FHWA in 2019 to complete that environmental review. DOT_38307. After years of

analysis, the Final EA was published on May 5, 2023, DOT_36150, and FHWA issued the FONSI

on June 23, 2023, DOT_363. 4

         At the time the Final EA and FONSI were issued, the TBTA had not yet adopted a final

tolling structure. As a result, the FONSI expressly contemplated that, after the adoption of a tolling

structure, the Final EA and FONSI “w[ould] have to be re-evaluated to determine if the decision

made in the FONSI is still valid.” DOT_394. “This requires that the TBTA demonstrate to FHWA

that the effects of the final tolling rates and structure are consistent with the effects disclosed in

the Final EA and that the mitigation is still valid.” Id.

         Plaintiffs filed suit on November 22, 2023, and January 4, 2024, challenging the Final EA

and FONSI under NEPA, claiming the analyses were “superficial” and “perfunctory.” See 23 Civ.

10365, Dkt. No. 1, Dkt. No. 39 ¶ 2; 24 Civ. 1644, Dkt. No. 1 ¶ 2. On June 20, 2024, the Court

issued an opinion rejecting Plaintiffs’ NEPA challenges to the Final EA and FONSI, finding that,

“[i]n light of Defendants’ meticulous analysis,” the environmental review of the Project conformed

with NEPA. Op. at 5.


3
  Title 23, United States Code, generally prohibits the imposition of tolls on Federal-aid highways. See 23 U.S.C.
§ 301. However, Congress has enacted tolling exceptions under various pilot programs. See, e.g., 23 U.S.C. § 129.
The VPPP is one such program. See SAFETEA-LU Act, Pub. L. 109-59 § 1604(a), 119 Stat. 1249 (Aug. 10, 2005).
4
  The Final EA and FONSI are described in detail in both Federal Defendants’ summary judgment briefing from an
earlier phase of this litigation, see Dkt. No. 65 (“First Gov’t MSJ”), and the Court’s opinion granting summary
judgment in Federal Defendants’ favor on Plaintiffs’ claim that the Final EA and FONSI violated NEPA, see Dkt. No.
99 (“Op.”). In the interest of brevity Federal Defendants therefore assume the Court’s familiarity with the Final EA,
FONSI, and its opinion and this brief discusses them only to the extent necessary to adjudicate Plaintiffs’ new claims.



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       Although the Court’s June 20 Opinion resolved all NEPA challenges concerning the Final

EA and FONSI, it left open the question whether supplemental NEPA analysis would be required

after a tolling structure had been adopted by the MTA in March. The Court noted that, in the Final

EA, “[t]he FHWA performed a broad analysis of potential tolling scenarios based on the

information available at the time, including the Project Sponsors’ objectives and statutory

parameters, but left open the question of whether the final tolling structure would comport with

those scenarios.” Op. at 69. The Court’s opinion recognized that FHWA would perform a re-

evaluation to determine “whether the EA ‘remains valid’ in light of the final tolling scenario.” Id.

at 70 (citing 23 C.F.R. § 771.129(c)). Accordingly, the Court deferred ruling on the merits of the

re-evaluation pending supplemental briefing. Op. at 22, 70.

III.   The MTA’s March 2024 Tolling Structure and the Re-Evaluation

       The TBTA adopted a tolling structure on March 27, 2024. See MTA, Central Business

District Tolling Program, available at https://new.mta.info/project/CBDTP. The major features of

that tolling structure include: (1) a $15 peak-period toll on passenger vehicles between 5 a.m. and

9 p.m. on weekdays, with a $3.75 off-peak toll during other hours; (2) differing rates for trucks

and motorcycles, following the same peak off-peak structure with a 75% off-peak discount; (3)

tunnel crossing credits during peak periods at the Queens-Midtown, Hugh L. Carey, Holland, and

Lincoln Tunnels; and (4) $1.25-per-trip charges for taxis and $2.50-per-trip charges for other for-

hire vehicles (“FHVs”). DOT_45438, 45439.

       On May 23, 2024, the FHWA received a request from the Project Sponsors that it review

and approve the Re-Evaluation, which examined that tolling structure (referred to in the Re-

Evaluation as the “adopted toll structure”). DOT_45450; see also DOT_45625. The purpose of

this re-evaluation was to make sure that the environmental effects of this toll structure were




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consistent with the effects disclosed in the Final EA, and that the mitigation identified in the

FONSI remained valid. DOT_45450. 5

         The table below reflects how the adopted toll structure fell within the range of seven tolling

scenarios analyzed in the EA:




DOT45473-74.

         To evaluate the adopted toll structure’s effects, the Project Sponsors used the same

methodologies as in the Final EA and compared the effects of the adopted toll structure to the


5
 The Re-Evaluation is a 195-page document with appendices that, for ease of comparison, follow the same order and
format of the final EA, and provide tables with side-by-side comparisons of the results of the adopted toll structure
along with the seven tolling scenarios analyzed in the EA. Id.; see also generally DOT_45430.


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effects for the seven tolling scenarios originally evaluated. DOT_45476. As explained in the Re-

Evaluation, “[i]f preliminary evaluation of the adopted toll structure demonstrated that effects

would be same as, or less than, those described in the Final EA, more detailed quantified analysis

(such as modeling) was not conducted. For any effects where the preliminary evaluation was not

conclusive, additional quantified analysis was conducted to further explore the effect.” Id.   In

particular, the Re-Evaluation used the same Best Practice Model (“BPM”) transportation

methodology as the Final EA, explaining that “[t]his allowed comparison of the results for the

adopted toll structure to the results presented in each analysis included in the Final EA.”

DOT_45477; see also, e.g., DOT_45478 (explaining that same regional transportation model was

used for re-evaluations as the Final EA).

       The Re-Evaluation considered the same 20 areas of analysis as the Final EA and concluded

that in 16 of those areas “the Program will benefit communities or create no adverse effects: the

regional transportation system, parking, social conditions (in terms of population, neighborhood

character, public policy), economic conditions, energy, parks and recreational resources, historic

and cultural resources, visual resources, air quality, noise, natural resources, hazardous

waste/contaminated materials, and construction effects.” DOT_45442. In four areas of analysis,

“the reevaluation, like the Final EA, found some potential adverse effects: highways and

intersections; transit; pedestrian and bicycles.” Id. The Re-Evaluation contains detailed analysis

of the effects in these four areas, including analyses of specific highway segments and local

intersections, DOT_45480-87, 45485; transit lines, specific transit stations, specific elements

within specific stations where adverse effects and accompanying projected improvements have

been identified, and parking structures, DOT_45488-505; and pedestrian and bicycle circulation

at specific locations, DOT_45506-16.




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        Ultimately, based on this analysis, the Re-Evaluation concluded that “the effects associated

with the adopted toll structure fall within the range of effects and analysis presented in the Final

EA/FONSI except in the areas identified in the discussion [and that in those areas] [t]he deviations

in effects . . . are minor and do not require additional environmental analysis and mitigation.”

DOT_45624. Further, the Re-Evaluation noted that “[t]he Final EA/FONSI anticipated there

would be variations in the potential effects once the toll structure was adopted and since these

variations are very minor, they continue to fall within the parameters of the Final EA/FONSI.” Id.

        The Re-Evaluation also expanded upon and made more concrete the mitigation measures

that had been included in the Final EA and FONSI. Specifically, the adopted toll structure

increased the low-income toll discount and extended and deepened the overnight discount,

resulting in an increased mitigation commitment of approximately $122.5 million. DOT_45441.

The MTA also committed to enhanced monitoring of the efficacy of its mitigation, providing that

a “formal report on the effects of the Project will be issued one year after implementation and then

every two years,” that “a reporting website will make data, analysis, and visualizations available

in open data format to the greatest extent practicable,” and that “[t]his data will also be used to

support an adaptive management approach to monitoring the efficacy of mitigation, and

adjustments as warranted.” DOT_45468.            Finally, the Re-Evaluation finalized the funding

allocation for place-based mitigation. DOT_45609. The Re-Evaluation resultingly concluded that

“[t]he mitigation measures identified in the Final EA/FONSI are still applicable and will ensure

that the adopted toll structure does not result in significant effects. With the adopted toll structure,

and an understanding of the effects, the place-based mitigation will be finalized in concert with

stakeholder involvement.” DOT_ 45624.




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        The Re-Evaluation also included a summary of the public participation opportunities that

had occurred and remained ongoing since publication of the Final EA and FONSI. A small

business working group was established and started holding meetings in January 2024.

DOT_45617. Numerous environmental justice outreach efforts were implemented. DOT_45618-

19. And multiple public outreach events had been held weekly since April to inform the public

about Congestion Pricing as well as the exemption and discount plans. DOT_45620.

        On June 14, 2024, the FHWA concluded “that the analysis conducted in the Re-Evaluation

confirms that the adopted toll structure and impacts associated with it was analyzed and mitigated

accordingly.” Accordingly, the agency found that “no additional environmental analysis is

warranted” and that “[t]he conclusions in the Final Environmental Assessment and Finding of No

Significant Impact remains valid. DOT_45625-26.

IV.     The MTA’s Adoption of a Phase-In Approach and the Re-Evaluation 2

        On November 8, 2024, the MTA wrote to the FHWA to express interest in “add[ing] a

phase-in feature to the tolling structure described in the Reevaluation approved in June 2024.”

DOT_47548. To ensure that feature’s consistency with the Final EA and FONSI, the MTA and

the FHWA undertook a re-evaluation of the feature’s environmental effects via the Re-Evaluation

2. DOT_47523. 6 The phase-in approach did not modify the structure of the March 2024 adopted

toll but instead established a schedule for three phases of implementation. DOT_47530. During

Phase 1 (2025, 2026, and 2027), each of the relevant tolls and credits will be 60% of the tolls and

credits in the March 2024 tolling structure. DOT_47531. During Phase 2 (2028, 2029, and 2030),

the tolls and credits will be 80%. Id. And in Phase 3 (and going forward), the toll will be the

structure adopted in March. Id.


6
 The MTA subsequently formally voted to adopt a phase-in approach on November 18, 2024, see MTA, Central
Business District Tolling Program, available at https://new.mta.info/project/CBDTP.


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       FHWA approved Re-Evaluation 2 on November 21, 2024. DOT_0047520. The Re-

Evaluation explained the procedural history of the environmental review of the Congestion Pricing

Program to date, outlined the mechanism by which the March 2024 tolling structure would be

phased in, and noted that “[n]otwithstanding the phasing in of tolls, the Project Sponsors would

comply with all of the mitigation commitments set forth in the EA and FONSI within the same

timeframes as contemplated in those documents and the reevaluation prepared for the March 2024

adopted tolling structure.” DOT_47530-31.

       The Re-Evaluation 2 further explained that, after adopting the phase-in, the Congestion

Pricing Program would still meet the objectives set forth in the Final EA. DOT_47537. With

respect to revenue generation, Phase 1, Phase 2, and Phase 3 would generate $500 million, $700

million, and $900 million in annual revenue, respectively. DOT_47537. Although these amounts

do fall below the amounts considered in the Final EA as sufficient to fund $15 billion in capital

projects, the MTA explained that “[t]he net revenues needed to fund $15 billion depends on a

number of economic factors, including but not limited to interest rates and terms.” Id. “Following

completion of the Final EA, based on current interest rates and expected timing of projects, MTA’s

Chief Financial Officer (CFO) determined that” $900 million in annual revenue would be

sufficient. Id. And in the Re-Evaluation 2, “MTA’s CFO [] determined that the expected revenues

to be collected under the Phase-In Approach would in combination still achieve the objective of

funding $15 billion in capital projects to allow their completion on the same timeline as projected

for the March 2024 Adopted Toll Structure.” Id.

       In evaluating the continued validity of the Final EA and FONSI, the Re-Evaluation 2 noted

that Phase 3 presents the same scenario as the tolling structure already analyzed in the Re-

Evaluation. DOT_47539. For Phase 1 and Phase 2, “peak tolling rates would fall within the




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ranges studied in the Final EA.” Id. The Re-Evaluation 2 recognized that “some effects of the

interim phases would by definition be reduced as compared to Phase 3,” but that “the mitigation

set forth in the EA and the June 2024 reevaluation would be implemented as previously

contemplated.” Id.

        On November 21, 2024, the FHWA issued a letter to the MTA stating: “FHWA concludes

that the Re-Evaluation 2 confirms that the phase-in of the adopted toll structure and impacts

associated with it was analyzed and mitigated accordingly. Thus, FHWA finds that no additional

environmental analysis is warranted. The conclusions in the Final Environmental Assessment and

Finding of No Significant Impact remains valid.” DOT_47520-21.

                                               ARGUMENT

        Although Plaintiffs appear to separately challenge the FHWA’s decision not to supplement

the Final EA, Dkt. No. 136-1 (“Pls. Br.”) at 15-23, and the FHWA’s approval of the Re-Evaluation

and the Re-Evaluation 2, id. at 23-29, their arguments reflect two sides of the same coin. “NEPA

does not specifically address how an agency should decide when changes require a more formal

EA,” but “the [FHWA] ha[s] specifically provided for reevaluations as a means to determine

whether or not [an] approved environmental document remains valid.” North Idaho Community

Action Network v. U.S. Dep’t of Transp., 545 F.3d 1147, 1154 (9th Cir. 2008); see also 23 C.F.R.

§ 771.129(c) (setting forth the re-evaluation requirement). Thus, where an agency takes “the

requisite ‘hard look’ in a re-evaluation” and “determines that [] new impacts will not be significant

(or not significantly different from those already considered), then the agency is in full compliance

with NEPA and is not required to conduct a supplemental EA.” North Idaho Community Action

Network, 545 F.3d at 1154-55. 7


7
  In other words, a re-evaluation “is not a NEPA document,” but “an initial significance determination that [can]
result[] in a supplemental EA” if environmental impacts are “found to be significant.” Little Rock Downtown


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        Accordingly, the only question before the Court is whether the FHWA took a hard look at

the tolling structure adopted by the MTA in March 2024, see DOT_45438, in the Re-Evaluation

and at the phase-in approach adopted by the MTA in November 2024, see DOT_47533, in the Re-

Evaluation 2 before concluding that the analysis of the Final EA did not require supplementation,

see DOT_45625, DOT_45720. In both instances, the FHWA was required to assess only whether

“new information” or “[c]hanges to the proposed action” would “result in significant

environmental impacts” not previously addressed, such that the analysis in the Final EA was no

longer sufficient. 23 C.F.R. § 771.130(a) (addressing supplementation of environmental impact

statements); see also Price Road Neighborhood Ass’n Inc. v. U.S. Dep’t of Transp., 113 F.3d 1505,

1509-10 (9th Cir. 1997) (applying the same standard to supplementation of EAs). Said differently,

“[a]gencies need not supplement their NEPA analyses every time new information or

circumstances emerge.” Earth Island Inst. v. U.S. Forest Serv. 87 F. 4th 1054, 1069 (9th Cir. 2023).

“Rather the new information or circumstances must show that the action will affect the quality of

the human environment in a significant manner or to an extent not already considered.” Id.

        The question whether to supplement an environmental review is “narrow,” governed by the

APA’s “‘arbitrary and capricious standard,’” and presents “a classic example of a factual dispute

the resolution of which implicates substantial agency expertise.” Marsh v. Oregon Natural

Resources Council, 490 U.S. 360, 373, 376 (1989); see also Wisconsin v. Weinberger, 745 F.2d

412, 418 (7th Cir. 1984) (“[A]n agency cannot have acted arbitrarily or capriciously in deciding

not to file a [supplemental environmental impact statement] unless the new information provides

a seriously different picture of the environmental landscape such that another hard look is



Neighborhood Association, Inc. v. Federal Highway Administration, No. 19 Civ. 362 (JM), 2022 WL 990341, at *9
(E.D. Ark. Mar. 31, 2022). Accordingly, the only question present by Plaintiffs’ motion is whether the FHWA’s
determinations that the Final EA need not be supplemented were arbitrary or capricious.



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necessary.” (emphasis in original)). As explained below, the FHWA’s analysis in the Re-

Evaluation and Re-Evaluation 2 that supplemental NEPA analyses was not required was neither

arbitrary, nor capricious, and so summary judgment should be granted in Federal Defendants’ favor

on Plaintiffs’ NEPA claims.

I.       The FHWA’s Determination That No Supplemental EA Was Required As A Result
         of the March 2024 Tolling Structure Was Neither Arbitrary Nor Capricious.

         As contemplated by the Court’s prior decision, 8 in the Re-Evaluation, the FHWA engaged

in a detailed analysis of the specifics of the tolling structure adopted by the MTA in March 2024

and examined “whether the EA ‘remains valid’ in light of the final tolling scenario.” Op. at 70

(citing 23 C.F.R. § 771.129(c)). Based on the analysis contained in the Re-Evaluation, the FHWA

reasonably concluded that the adopted tolling structure would not result in significant

environmental impacts that were not analyzed in the Final EA or that would not be otherwise

addressed by the mitigation measures in place, and that therefore no supplemental NEPA analysis

was required. Plaintiffs have not shown that the FHWA’s conclusion was arbitrary or capricious.

         A.       The March 2024 Final Toll Structure Fell Within the Tolling Scenarios
                  Analyzed in the Final EA.

         Plaintiffs’ arguments that the tolling structure deviates “too much” from the seven tolling

scenarios analyzed in the EA, Pls. Br. at 17-18, are simplistic and factually incorrect. The question

is not simply whether there were any changes in the tolling structure, but rather whether any

changes to the tolling structure would result in significant environmental impacts that were not

already considered in the EA and that would not be mitigated by the mitigation measures set forth


8
  Ignoring this Court’s prior discussion of the Final EA, Plaintiffs claim that the Re-Evaluation was a “post hoc
rationalization” for a failure to analyze the actual tolling plan in the Final EA. Pls. Br. at 28-29. But as the Court
previously ruled, “[m]ulti-step NEPA reviews are not only lawful, but also salutary. By examining potential tolling
scenarios prior to the finalization of the tolling structure, the FHWA enabled the TMRB and TBTA to benefit from
the federal government’s environmental expertise in crafting a suitable tolling schedule.” Op. at 69. The Court
observed that the Final EA’s use of the worst-case scenarios was “fundamentally conservative.” Id. at 70. Plaintiffs
have pointed to nothing that would require the Court to reconsider its prior ruling.


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in the EA (i.e., whether the EA “remains valid”). Op. at 70; see also Price Rd. Neighborhood

Ass’n, Inc., 113 F.3d at 1510 (“Finding that there are no discernible differences in the level of

environmental impacts when comparing the original configuration with the revised configuration,

the FHWA concluded that supplemental documentation was not necessary. At that point, the

FHWA was in full compliance with NEPA and was not required to conduct a supplemental EA.”

(internal quotation marks omitted)). The Re-Evaluation makes clear that the FHWA undertook a

reasoned and robust analysis of the specifics of the proposed tolling structure and reasonably

concluded that they would not cause any significant environmental impacts not previously

analyzed.

       Indeed, the only environmental impact that Plaintiffs can point to where the adopted toll

structure falls outside the range analyzed in the Final EA is with respect to specified air pollutant

increases in the Bronx, Richmond, and Bergen Counties. See Pls. Br. at 13. But as the Re-

Evaluation points out, the adopted tolling structure results in “fewer predicted increases” in air

pollutants than the worst-case scenario analyzed in the Final EA, and “[a]ll of the changes between

the adopted toll structure and [the worst-case scenario] by county are small,” generally less than

1%. DOT_45551. Plaintiffs make no argument that these small, localized increases qualify as

“significant environmental impacts that were not evaluated in the” Final EA, as would be required

for them to prevail on their claims. 23 C.F.R. § 771.130(a)(1).

       $15 Peak Toll Amount for Passenger Vehicles: Plaintiffs argue that the $15 toll is a

“never before analyzed price,” Pls. Br. at 17, but as the Re-evaluation explained it was “within the

range of $9 to $23” analyzed in the seven scenarios. DOT_45440. To reach this conclusion, the

FHWA did not simply rely on the obvious fact that the $15 was between $9 and $23, it went the

extra mile and replicated the Final EA’s modeling to ensure that the impacts under the adopted




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tolling structure likewise fell within the range examined in the Final EA. See DOT_45476 (“To

evaluate the adopted toll structure’s effects in comparison to those described in the Final EA, the

Project Sponsors used the same methodologies as used for the analyses in the Final EA. For each

analysis topic, they considered the effects of the adopted toll structure in comparison to the effects

for the seven tolling scenarios evaluated in the Final EA.”). The modeling consistently reflected

that the anticipated environmental impacts were within the range previously analyzed, and that no

additional mitigation measures were required beyond those set forth in the Final EA. DOT_45452-

68 (summarizing anticipated environmental effects under the adopted tolling structure as compared

with the scenarios assessed in the Final EA).

       Off-Peak Toll Amounts: Plaintiffs also point to the fact that the overnight toll was lowered

to below the range for off-peak and overnight tolls considered in the Final EA to $2.25 to $3.75,

Pls. Br. at 17. But Plaintiffs do not attempt to argue that this change results in different

environmental impacts, particularly any new impacts that were not considered in the Final EA.

Indeed, as the Re-Evaluation noted, while this is lower than the range in the Final EA, it “exceeds

[the] commitment in the Final EA to include ‘further reduced overnight tolls at or below 50

percent . . .’ by reducing peak toll by 75 percent.” DOT_45440.

       Time Periods: Plaintiffs also complain that the “peak” period was extended by two hours

on weekdays (from 6AM-8PM to 5AM-9PM) and that the “off peak” and “overnight” periods were

combined to provide two-time-period structure (i.e., peak and overnight) on weekdays. See Pls.

Br. at 17. But the Re-Evaluation specifically studied these longer time periods in the modeling

conducted as part of its analysis. DOT_45440 n.2. And, again, those modeling results demonstrate

that these two additional peak hours (along with the rest of the adopted toll structure) would not

result in significant environmental impacts that were not analyzed in the Final EA. DOT_45452-




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68. In any event, as the Re-Evaluation explained, the simplified two-time-period structure was

adopted for “ease of customer understanding” and “as there is no longer an off-peak period on

weekdays, the weekday peak and overnight periods are longer than those studied in the Final EA.”

DOT_45439-40.

         Crossing Credits: Plaintiffs separately complain that the crossing credits for passenger

vehicles entering through the Lincoln, Holland, Hugh Carey and Queens-Midtown tunnels now

range from $1.50 to $5.00 and argue that this is “significantly lower” than the $13.10 credit studied

in the Final EA, Pls. Br. at 17. That is simply incorrect. The Final EA studied a no credit scenario

($0), a low credit scenario (up to $6.55) and high credit scenarios (up to $13.10), DOT_4586.

Thus, the crossing credits in the adopted tolling structure fell within the range analyzed in the Final

EA. Plaintiffs speculate that decreased credits must mean an increase in traffic on the crossings. 9

Pls. Br. at 19. But that speculation is unsupported by the modeling conducted in the Re-Evaluation,

which confirmed that the adopted tolling structure, including its crossing credit structures, would

not result in significant environmental effects outside those analyzed in the Final EA. See

DOT_45452-68.

         Taxis & FHVs: Finally, Plaintiffs argue that the taxi and for-hire-vehicle (“FHV”) per ride

fee differs from what was an analyzed within the Final EA, which instead looked at a range of

alternatives from exemptions, caps on the number of tolls, and full fares for all trips. Pls. Br. at

17-18. However, the Re-Evaluation makes clear that the adopted per-ride fee is functionally

“equivalent” to the toll rates analyzed in the Final EA: “the per-trip tolls for taxis and FHVs in the

adopted toll structure would be equivalent to the auto peak rate of $15 (based on the NYC Taxi




9
 Plaintiffs’ brief refers to “crossing credits on certain bridges” resulting in “more traffic over those bridges,” Pls. Br.
at 19. However, the credits are only for tunnels into the CBP, as only tunnels that enter the CBP are tolled.



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and Limousine Commission analysis of trips made by TLC-licensed vehicles in May 2023: for

taxis the average number of trips with passengers to/from/within the CBD is 12, and for FHVs it

is 6).” DOT_45474 n.5; see also DOT_45525-26. The Re-Evaluation explains that the adopted

toll structure was predicted to reduce vehicle miles traveled (“VMT”) by taxis and FHVs within

the CBD by 0.3%, which is within the range of the impacts of the seven tolling scenarios analyzed,

which ranged from increases of VMT by taxis and FHVs in the Central Business District under

scenarios B, F and modified G (all of which would have limited daily tolling for taxis and FHVs

to no more than once per day) to decreases of VMT of up to 16.8% under scenario D, which would

have charged $19 per entry into the Central Business District. DOT_45527. Accordingly, this

aspect of the schedule similarly fits within the range of scenarios analyzed within the Final EA. 10

         B.       The Re-Evaluation Reasonably Utilized the Methodology from the Final EA
                  to Determine that the Adopted Tolling Structure Would Not Result in
                  Impacts that Were Not Analyzed in the Final EA.

         The Re-Evaluation contains detailed assessments of impacts of the Project on the same 20

resource areas analyzed in the Final EA using the same modeling methodology as the Final EA,

but applying it to the specifics of the adopted toll structure to compare them to the results from the

original seven tolling scenarios analyzed in the Final EA. See DOT_45452-68. The FHWA

reasonably concluded, based on this modeling, that the final toll structure would not result in any

significant environmental impacts that were not analyzed and mitigated in the Final EA and

FONSI.




10
  Plaintiffs also speculate that charging the per ride toll to passengers somehow may increase congestion. Pls. Br. at
19. However, they offer no support for this proposition, which is not borne out by the results of the modeling
conducted in connection with the Re-Evaluation. DOT_45527.



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         Plaintiffs challenge the Re-Evaluation methodology, arguing that the it used “outdated”

models 11 and statistics that were not “updated,” Pls. Br. at 11, 27. As an initial matter, the Court

has already rejected such challenges to the modeling used in evaluating impacts in the Final EA,

noting that “‘courts accord deference to agencies’ choice of methodology as long as it is not

arbitrary or without foundation’. . . . [a]nd the FHWA’s choice of methodology here easily clears

that low bar.” Op. at 85 (quoting Senville v. Peters, 327 F. Supp. 2d 335, 354 n.16 (D. Vt. 2004)).

The Court’s reasoning is dispositive of that claim here, too.

         Moreover, the same modeling and methodology was reasonably used in the Re-Evaluation

as the Final EA to permit a side-by-side comparison of the impacts of the seven tolling scenarios

analyzed in the Final EA and the adopting tolling structure, DOT_45450, 45476. This permits the

Re-Evaluation to serve its purpose—to provide an effective analysis of whether the changes to the

project would have environmental impacts that were not previously analyzed in the Final EA, and

is entitled to deference. See Marsh, 490 U.S. at 376 (question whether to supplement is “a classic

example of a factual dispute the resolution of which implicates substantial agency expertise”);

Massachusetts v. U.S. Nuclear Regul. Comm’n, 708 F.3d 63, 76 (1st Cir. 2013) (“Agencies are

entitled to select their own methodology as long as that methodology is reasonable, and we give

deference to that decision here.” (quotation marks and alterations omitted). 12


11
  Plaintiffs also seem to take issue with the fact that the Re-Evaluation utilized an updated emissions model to test air
quality, without updating data inputs, Pls. Br. at 27-28 (citing DOT_45538), but offer no explanation as to why the
use of the version of EPA’s emissions model that was current at the time the analysis was performed was arbitrary
and capricious or not within the agency’s reasoned discretion, particularly given that the model used in the Final EA
was no longer being supported for use. DOT_45538. In any event, choices regarding modeling methodologies are
afforded significant deference. See, e.g., Communities Against Runway Expansion, Inc. v. FAA, 355 F.3d 678, 689
(D.C. Cir. 2004) (an agency’s “choice among reasonable analytical methodologies is entitled to deference”).
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   Plaintiffs suggest, without ever seriously raising, that the Re-Evaluations escaped public scrutiny, see Pls. Br. at 2.
As an initial matter, there is no requirement that re-evaluations be subject to public comment. Little Rock Downtown
Neighborhood Association, Inc., 2022 WL 990341, at *9; see also NEPA Re-Evaluation Joint Guidance for FHWA,
FRA & FTA, issued on August 14, 2019, at 3 (“[R]e-evaluations generally do not require public involvement.”)
(available at https://www.environment.fhwa.dot.gov/legislation/nepa/Reevaluation_guidance_08142019.aspx (last
visited Dec. 5, 2024). But even so, as detailed in the Re-Evaluation, following the Final EA and adoption of the final


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II.     FHWA’s Determination in Re-Evaluation 2 That No Supplemental EA Was
        Required By the Phase-In Was Neither Arbitrary Nor Capricious.

        Months after concluding that the MTA’s adopted tolling structure did not require

supplementation of the Final EA, the FHWA reasonably concluded that MTA’s decision to use a

phase-in period for that tolling structure did not present significant new environmental impacts

and that the environmental analysis of the Final EA remained valid. DOT_47520. Plaintiffs

launch a scattershot attack on that conclusion, arguing that: (1) the phase-in differs materially from

the tolling structure adopted by the MTA in March, Pls. Br. at 18-19; (2) utilizing a phase-in

renders the MTA’s adopted mitigation plan arbitrary, id. at 18-19; and (3) the FHWA’s decision

was made too hastily and with too little documentation, id. at 24-25. As set forth below, the MTA’s

decision to implement the tolling structure adopted in March 2024 over the course of three

phases—a plan initially advocated for by Plaintiffs, see Dkt. No. 54-1 at 43-44, and which the

Court has already recognized “merely postpones the full operation of Congestion Pricing,” see Op.

at 64—did not invalidate the years-long environmental review already approved by this Court.

        A.      The Phase-In Will Not Cause Additional Significant Environmental Impacts.

        Plaintiffs contend that “no evaluation has meaningfully addressed the effects of laddering

the toll price,” as the MTA did in November, arguing that “varying toll prices will result in various

degrees of traffic diversion.” Pls. Br. at 18, 19; see also DOT_47533-34 (showing tolling phase-

in progression). But the Re-Evaluation 2 explained why phasing in the adopted tolling structure

would not “result in significant environmental impacts” outside those addressed in the Final EA.

In particular, “[b]y Phase 3, the effects would be those identified for the March 2024 adopted toll

structure in the June 2024 reevaluation,” DOT_47539, which, as discussed above, did not require



tolling structure there has been extensive public input, including through small business working groups,
environmental justice community groups, and education and outreach efforts. See DOT_45617-21.



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supplementation of the Final EA. See supra Part I. And “[d]uring Phases 1 and 2, the structure

would be the same [as in Phase 3] but the tolls would be lower (but within the range of scenarios

analyzed in the EA).” DOT_47539. Indeed, the toll rates of $9 and $12 utilized during Phase 1

and Phase 2—the factor that is the greatest driver of traffic diversions, see, e.g., DOT_36372—are

themselves within the range analyzed in the Final EA. Compare DOT_36292 with DOT_47533-

34. A change to a project cannot be “significant” unless it “is not qualitatively within the spectrum

of alternatives that were discussed in a prior” environmental document. In re Operation of

Missouri River System Litigation, 516 F.3d 688, 693 (8th Cir. 2008) (emphasis in original,

quotation marks omitted). Here, the phased-in approach falls well within the range already

analyzed.

         Moreover, the Re-Evaluation 2 also explains that, during Phase 1 and Phase 2, “some

effects . . . would by definition be reduced as compared to Phase 3 (such as effects on low-income

drivers).” DOT_47539. Again, reduced effects are definitionally not significant. See 23 C.F.R.

§ 771.130(b)(1) (“[A] supplemental EIS will not be necessary where [t]he changes to the proposed

action . . . result in a lessening of adverse environmental impacts evaluated in the EIS”); S. Trenton

Residents Against 29 v. Fed. Highway Admin., 176 F.3d 658, 666 (3d Cir. 1999) (upholding

conclusion that supplemental EIS “was not required under the regulations because the roadway

design change would not result in significant new impact on the environment, and would have a

lesser effect on the environment than the originally approved plan.”). 13 The Re-Evaluation 2’s


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   Dubois v. U.S. Dep’t of Agriculture, 102 F.3d 1273 (1st Cir. 1996), relied on by Plaintiffs, Pls. Br. at 20, is readily
distinguishable. In that case, the Court concluded that the changes to a project did not “fall within the spectrum of
alternatives” that were previously considered, because while the footprint of changes to a ski resort was reduced,
within that footprint, there would be additional physical development that had not been considered. Id. at 1292. As
the court noted, these changes were “relevant to environmental concerns” and “could very well have environmental
impacts that the Forest Service has not yet considered, simply based on their more compact physical location.” Id.
There are no equivalent concerns here, given the FHWA has determined that the changes to the tolling structure will
not result in any significant environmental impacts that were not previously considered, and Plaintiffs have pointed to
nothing in the phase-in approach that would raise new environmental concerns similar to those at issue in Dubois.


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discussion of the effect of a phase-in was not verbose, but that was neither inappropriate nor

unsurprising given that, as this Court has already recognized, a phase-in “merely postpones the

full operation of Congestion Pricing.” Op. at 64.

       B.      The Mitigation Measures in the Final EA and FONSI Remain Valid.

       The FHWA correctly determined that the MTA’s commitment to mitigation measures

remained valid after the adoption of the March 2024 tolling structure and November 2024 phase-

in approach. The MTA retained (and even expanded) its mitigation commitments from the Final

EA in the Re-Evaluation and Re-Evaluation 2, despite the Final EA being premised on worst-case

scenario assumptions. DOT_45441-42; DOT_37826. The Re-Evaluation made more concrete the

locations at which mitigation measures would be adopted and the funding that would be allocated.

DOT_45609. Plaintiffs’ suggestion that the MTA’s approach to monitoring the efficacy of

mitigation (already approved of by this Court, see Op. at 99) has been rendered invalid by the

phase-in approach because it “was based on a two-year monitoring period,” while the phase-in will

take longer to reach $15, Pls. Br. at 18, ignores the facts and is based on pure speculation. The Re-

Evaluation commits to broad monitoring that extends well beyond two-years to ensure the efficacy

of mitigation, including “[a] formal report on the effects of the Project . . . every two years,” and

a “reporting website that will make data, analysis, and visualizations available in open data format

to the greatest extent practicable,” all designed “to support an adaptive management approach to

monitoring the efficacy of mitigation, and adjustments as warranted.” DOT_45616; see also

DOT_45607-13 (discussing siting and monitoring of mitigation more thoroughly).




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       C.      Arguments Regarding the Timing and Format of the Re-Evaluation 2 Are
               Meritless.

       Finally, Plaintiffs contend that the Re-Evaluation 2 was approved too quickly and was not

lengthy enough.     Pls. Br. at 24-25.     Again, Plaintiffs’ arguments are counterfactual and

misapprehend the purposes of NEPA.

       The Re-Evaluation 2 was not approved of in “less than a day.” Pls. Br. at 25. Instead, the

MTA began engaging with the FHWA on November 8, 2024, and shared a draft of the Re-

Evaluation 2 with the FHWA on November 13, and so the process of re-evaluating the Final EA

and FONSI in light of the phase-in approach took place over several weeks. DOT_47540-48. To

the extent Plaintiffs argue that the Re-Evaluation 2 was nevertheless evaluated too quickly due to

a desire to move the Project forward, see, e.g., Pls. Br. at 1, that claim misunderstands the purpose

of NEPA review. Administrative review of an agency decision is confined to considering whether

the agency engaged in reasoned decisionmaking, not whether it met an arbitrary minimum time

requirement. See, e.g., Brodsky v. U.S. Nuclear Regulatory Commission, 783 F. Supp.2d 448, 465

(S.D.N.Y. 2011) (dismissing argument that decision was made “too quickly” as having “no

foundation . . . in fact or law”), vacated in part on other grounds by 704 F.3d 113 (2d Cir. 2013).

And to the extent that Plaintiffs contend that the Re-Evaluation 2 was rushed for political reasons,

that, too, is immaterial, absent a showing of bad faith. Spiller v. White, 352 F.3d 235, 242 (5th

Cir. 2003) (“[A]gencies’ actions are judged in accordance with their stated reasons” and the

“subjective motivation of agency decisionmakers is immaterial as a matter of law—unless there is

a showing of bad faith or improper behavior” (quotation marks omitted)).

       Plaintiffs’ separate contention that the Re-Evaluation 2 was too short (while also making

the contradictory argument that the Re-Evaluation was too long, see Pls. Br. at 16-17), is premised

on dubious arguments that this Court has already rejected. Op. at 55 (noting that “courts have



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roundly rejected” the “facile argument” that the length of an environmental document has bearing

on its validity); see also TOMAC, Taxpayers of Mich. Against Casinos v. Norton, 433 F.3d 852,

862 (D.C. Cir. 2006) (“[T]he length of an EA has no bearing on the necessity of an EIS.”). As

FHWA’s Re-evaluation Guidance explains, “[t]here is no required format for written re-

evaluations. Documentation may be simple, such as a checklist, and e-mail exchange between the

Agency and project sponsor, or a memorandum to the project file. . . Regardless of the format, it

should be concise and document whether the original environmental document or decision remain

valid.” NEPA Re-Evaluation Joint Guidance, at 3. NEPA requires agencies to take a hard look

at the environmental effects of a proposed project, not produce paperwork for paperwork’s sake.

For all the reasons discussed above, the FHWA took the requisite hard look in the Re-Evaluation

and the Re-Evaluation 2.

III.    There Have Been No Changed Circumstances That Would Require
        Supplementation of the EA.

        Apart from their challenges to the analyses set forth in the two re-evaluations, Plaintiffs

challenge two other allegedly changed circumstances that they believe require supplementation of

the Final EA—an alleged change to the MTA’s funding objectives and allegedly changed

economic conditions in New York. Neither contention has merit.

        A.     The MTA Did Not Change Its Funding Objectives.

        Plaintiffs’ contention that the revenue goals used to assess alternatives in the Final EA has

been “abandoned,” Pls. Br. at 21-23, rests on a willful misreading of the record and a

misunderstanding of what NEPA requires. The revenue criterion utilized in the Final EA was not

to “achieve $1 billion in annual revenues,” Pls. Br. at 21; instead, it was to “[c]reate a funding

source for capital improvements and [to] generate sufficient annual net revenues to fund $15

billion for capital projects for the MTA Capital Program,” DOT_36266. The Re-Evaluation 2 uses



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the same criterion. DOT_47537. The only difference between the analysis of the Final EA and

the Re-Evaluation 2 in this respect is that the MTA’s Chief Financial Officer recently concluded

“based on current interest rates and expected timing of projects,” that lower annual net revenue

could still meet that funding criterion. Id. That is because, as the Re-Evaluation 2 explains, “[t]he

net revenue needed to fund $15 billion depends on a number of economic factors, including but

not limited to interest rates and terms.” Id. The MTA’s expert financial analysis in this respect is

entitled to deference. See, e.g., New Mexico Navajo Ranchers Ass’n v. ICC, 850 F.2d 729, 738

(D.C. Cir. 1988) (deferring to financial projections under different regulatory regime). Even if it

were not, the purpose of NEPA is to ensure consideration of environmental effects, not to police

whether states have met their legislatively mandated financial goals. Op. at 62 (“NEPA does not

empower the Court to second-guess the New York State Legislature’s revenue objective under the

guise of a purely procedural NEPA review.”).

       Plaintiffs nevertheless argue that the adoption of a phase-in approach and the MTA’s

assessment of the revenue necessary to meet its funding goals required the FHWA to undertake an

alternatives analysis anew. Pls. Br. at 21-23. But this Court has already recognized that the phase-

in approach “merely postpones the full operation of Congestion Pricing,” Op. at 64, And “courts

generally do not require supplementation and a new alternatives analysis where project changes

simply reduce the scale of the previously approved project rather than changing the configuration

and location of project features.” Florida Keys Citizens Coal., Inc. v. U.S. Army Corps of

Engineers, 374 F. Supp. 2d 1116, 1152 (S.D. Fla. 2005). Moreover, Plaintiffs have not (and

cannot) identify any alternatives that were rejected in the Final EA that would now be viable in

light of the MTA’s analysis of the revenues necessary to fund $15 billion in MTA capital projects.

Of the alternatives rejected in the Final EA, only three others—license plate rationing, mandatory




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carpooling, and tolling the East and Harlem River bridges—even met the MTA’s non-revenue

congestion management goals. DOT_36267. But none of those alternatives would generate any

revenue, let alone enough to meet MTA’s statutorily-mandated goals. 14 Indeed, Plaintiffs point

only to the phase-in approach as an alternative that was not discussed in the Final EA that could

now be viable. Pls. Br. at 23. But that is exactly what the MTA has adopted. And, in any event,

this Court has already ruled that a phase-in approach need not be separately analyzed as an

alternative to the Congestion Pricing Project. Op. at 64.

        Plaintiffs’ arguments about alternatives also ignore a fundamental point that this Court

addressed in its June decision. Although the Final EA excluded compliance with the MTA Reform

and Traffic Mobility Act as a specific “objective,” of the Project, see DOT_36266, under that Act,

the MTA is required to “establish the central business district tolling program,” DOT_38735.

Following New York’s legislative mandate “serves the separation of powers by respecting the

democratic legitimacy of legislative judgments,” Op. at 61; “promotes the balance of ‘federalism’

by ensuring federal agencies do not pass judgment on the policy wisdom of state and local

enactments,” id.; and “ensures federal agencies do not expend resources examining alternatives

that the project sponsors are not ‘legally authorized to implement,” id. Given these considerations,

the scope of alternatives considered—a no action alternative and implementation of the Project—

was perfectly sensible, as this Court has already ruled.

        Given this context, the analogy that Plaintiffs draw between this matter and Hughes River

Watershed Conservancy v. Glickman, 81 F.3d 437 (4th Cir. 1996), is inapt. Pls. Br. at 27 n.15. In



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   Tolling the East and Harlem River bridges would generate revenue for the City of New York, but there is no law or
agreement in place that would direct that revenue to the MTA. DOT_36268. As this Court recognized in its June
opinion, alternatives that are not “legally authorized” need not be examined. Op. at 61. Furthermore, this Court has
already recognized that tolling these bridges would result in negative externalities to Environmental Justice
communities and would poorly police “trips that start and end within Manhattan.” Id. at 65-66.



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Glickman, the Fourth Circuit held that the NEPA review of a dam project capriciously relied on

an inaccurate economic analysis that impaired the Army Corps of Engineer’s ability to balance the

dam’s benefits against its environmental costs. Id. at 446. But unlike in Glickman, there have

been no errors of analysis in evaluating whether the Congestion Pricing Project will meet its

revenue goals—the MTA’s Chief Financial Officer simply provided an updated assessment about

funding needs responding to current economic conditions. Moreover, this is not a matter in which

any errors in revenue assessment would “distort[] . . . fair consideration” of the Congestion Pricing

Project’s “adverse environmental effects.” Glickman, 81 F.3d at 446. To the contrary, with

mitigation, the FHWA has already reasonably concluded that the Congestion Pricing Project has

no significant environmental effects, as this Court has held. Op. at 107 (“Based on the mitigation

plan described in the EA and technical memorandum, the Court is convinced that the Sponsors’

commitments provided adequate support for the FONSI.”). As such, it simply cannot be said that

any alleged error “played a crucial part in the evaluation of whether to undertake the project.”

North Carolina Alliance for Transp. Reform, Inc. v. U.S. Dep’t of Transp., 151 F. Supp. 2d 661,

693 (M.D.N.C. 2001) (distinguishing Glickman on the same ground).

       B.       Allegedly Changed Economic Circumstances Do Not Require the Final EA
                To Be Supplemented.

            Lastly, Plaintiffs brief alludes to (without ever raising) the argument that economic

circumstances have changed in manner that requires the Final EA to be supplemented. See Pls.

Br. at 4 (citing “concerns over the affordability and financial burden on every day New Yorkers”).

But Plaintiffs do not explain how economic circumstances have changed in a manner that would

require supplemental NEPA analysis; instead, they simply parrot the Governor’s statements in

June that economic conditions differ from 2019 (which, notably, was four years before the Final

EA was issued). See, e.g., Chemical Weapons Working Group v. U.S. Dep’t of Defense, 655 F.



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Supp. 2d 18, 41 (D.D.C. 2009) (rejecting supplementation claim where “plaintiffs provide no

evidence of ‘new information’”).

       But even if Plaintiffs had met their burden to show that economic conditions had changed

since the Court approved of the Final EA and FONSI, they could not show that those changed

conditions would require a supplemental NEPA analysis. As set forth in the FHWA’s regulations,

a supplemental analysis must be prepared when “[n]ew information or circumstances relevant to

environmental concerns . . . would result in significant environmental impacts not evaluated” in a

prior NEPA document. 23 C.F.R. § 771.130(a)(2) (emphasis added). By contrast, because “[t]he

zone of interests protected by the NEPA is, as its name implies, environmental; economic interests

simply do not fall within that zone.” Gunpowder Riverkeeper v. FERC, 807 F.3d 267, 274 (D.C.

Cir. 2015). Accordingly, the Court should reject these arguments.

                                        CONCLUSION

       For the reasons stated herein, Plaintiffs’ motion for summary judgment should be denied

and Federal Defendants’ cross-motion for summary judgment should be granted.

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       New York, New York
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